




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

    )
		   No. 08-03-00394-CV

)


IN THE INTEREST OF J.X.C.,        )
			Appeal from

)
	

A MINOR CHILD.)
		     358th District Court

)


)
		  of Ector County, Texas

)


)
		         (TC# D-2325-PC)


MEMORANDUM OPINION



	This appeal is before the court on the motion of Appellant, Texas Department of Protective
and Regulatory Services, to dismiss this appeal pursuant to Tex.R.App.P. 42.1, which states that:

	(a)  On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:


	(1)  On Motion of Appellant.  In accordance with a motion of appellant, the court
may dismiss the appeal or affirm the appealed judgment or order unless disposition
would prevent a party from seeking relief to which it would otherwise be entitled.


	(2)  By Agreement.  In accordance with an agreement signed by the parties or their
attorneys and filed with the clerk, the court may:


		(A)  render judgment effectuating the parties' agreements;


		(B)  set aside the trial court's judgment without regard to the merits
and remand the case to the trial court for rendition of judgment in
accordance with the agreements; or


		(C)  abate the appeal and permit proceedings in the trial court to
effectuate the agreement.

	By its motion, Appellant voluntarily requests dismissal because it no longer desires to
prosecute the appeal.  None of the other parties to the appeal have objected to dismissal nor do they
claim that dismissal would prevent them from seeking relief to which they would otherwise be
entitled.  Therefore, the motion is granted and the appeal is dismissed.



January 29, 2004					                                                                         
							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


